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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:22-cv-01391-STV
_____________________________________________________________________________

JENNIFER WEBB

               Plaintiff,

v.

ASPEN VIEW ACADEMY, A Colorado public charter school
ROBERT BARBER, Principal, in his individual capacity

            Defendants.
_____________________________________________________________________________

        DEFENDANTS’ UNOPPOSED MOTION TO RESTRICT ACCESS TO
     CONFIDENTIAL PORTIONS OF PLAINTIFF’S STATEMENTS OF FACTS
_____________________________________________________________________________

        Defendants Aspen View Academy and Robert Barber (collectively “Defendants”), by and

through their attorneys Overturf, McGath & Hull, P.C., hereby move to restrict access at “Level

1” to certain portions of Exhibit R to Defendants’ Response in Opposition to Plaintiff’s Motion

for Summary Judgment (R. Doc. 56-1) and Exhibit U to Defendants’ Reply in Support of

Defendants’ Motion for Summary Judgment (R. Doc. 60-1) that refer to confidential portions of

the record, as outlined below.

        Pursuant to D.C. Colo. L. Civ. R. 7.1, undersigned counsel as conferred with counsel for

Plaintiff Jennifer Webb (“Plaintiff”) and Plaintiff does not oppose the relief requested herein.

     1. During discovery, the Defendants marked some documents as “Confidential” pursuant to

        the Protective Order.




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   2. On July 19, 2023, Plaintiff filed a Motion to Restrict Access to Confidential Exhibits and

      Portions of Plaintiff’s Statement of Facts (R. Doc. 41). This Motion to Restrict was filed

      in connection with Plaintiff’s Motion for Summary Judgment (R. Doc. 42).

   3. In her first Motion to Restrict, Plaintiff moved this Court to restrict access to Exhibit 56

      (DEF1070) (R. Doc. 41-2) and Exhibit 57 (DEF1058-1059) (R. Doc. 41-1) to Plaintiff’s

      Motion for Summary Judgment. These documents had previously been marked

      “Confidential” by Defendants pursuant to the Protective Order. In her first Motion for

      Restrict, Plaintiff also moved this Court to restrict access to those portions of Exhibit 1 to

      Plaintiff’s Motion for Summary Judgment (Plaintiff’s Separate Statement of Facts, R. Doc.

      41-3) which cited to Exhibits 56 and 57.

   4. Plaintiff’s first Motion to Restrict was granted by this Court on July 31, 2023 (R. Doc. 43).

   5. On September 13, 2023, Plaintiff filed a second Motion to Restrict Access to Confidential

      Exhibits and Portions of Plaintiff’s Statement of Facts (R. Doc. 54). This Motion to Restrict

      was filed in connection with Plaintiff’s Response to Defendants’ Motion for Summary

      Judgment (R. Doc. 55).

   6. In her second Motion to Restrict, Plaintiff moved this Court to restrict access to Exhibit 52

      to Plaintiff’s Response to Defendants’ Motion for Summary Judgment (DEF1058-59) (R.

      Doc. 54-2). This document had previously been marked “Confidential” by Defendants

      pursuant to the Protective Order. In her second Motion to Restrict, Plaintiff also moved

      this Court to restrict access to those portions of Exhibit 1 to Plaintiff’s Response to

      Defendants’ Motion for Summary Judgment (Plaintiff’s Separate Statement of Facts) (R.

      Doc. 41-3) which cited to Exhibit 52.




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   7. Plaintiff’s second Motion to Restrict was granted by this Court on September 20, 2023 (R.

       Doc. 57).

   8. In support of their Response to Plaintiff’s Motion for Summary Judgment, Defendants filed

       Exhibit R (R. Doc. 56-1). Exhibit R responded to Exhibit 1 to Plaintiff’s Motion for

       Summary Judgment (Plaintiff’s Separate Statement of Facts) (R. Doc. 41-3). As such,

       Exhibit R contains citations to confidential Exhibits 56 and 57 to Plaintiff’s Motion for

       Summary Judgment.

   9. Defendants then filed Exhibit U (R. Doc. 60-1) in connection with their Reply in Support

       of Defendants’ Motion for Summary Judgment. Exhibit U responded to Exhibit 1 to

       Plaintiff’s Response to Defendants’ Motion for Summary Judgment (Plaintiff’s Separate

       Statement of Facts) (R. Doc. 41-3). As such, Exhibit U contains citations to confidential

       Exhibit 52 to Plaintiff’s Response to Defendants’ Motion for Summary Judgment.

       WHEREFORE, Defendants Aspen View Academy and Robert Barber respectfully

request, for the same reasons as cited by Plaintiff in her Motions to Restrict, that this Court limit

access to Exhibit R to Defendants’ Response to Plaintiff’s Motion for Summary Judgment (R.

Doc. 56-1) and Exhibit U to Defendants’ Reply in Support of Defendants’ Motion for Summary

Judgment (R. Doc. 60-1) at a “Level 1” restriction.

       If so ordered, Defendants can file publicly viewable versions of R. Doc. 56-1 and R. Doc.

60-1 that redact the references to the contents of Exhibits 56 and 57 to Plaintiff’s Motion for

Summary Judgment (R. Doc. 41-2 and R. Doc. 41-1) and Exhibit 52 to Plaintiff’s Response to

Defendants’ Motion for Summary Judgment (R. Doc. 54-2).




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DATED this 3rd day of October 2023.
                                          Respectfully submitted,

                                          OVERTURF McGATH
                                          & HULL, P.C.

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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 3, 2023, I electronically filed the foregoing
UNOPPOSED MOTION TO RESTRICT ACCESS TO CONFIDENTIAL PORTIONS OF
PLAINTIFF’S STATEMENTS OF FACTS with the Clerk of Court using the CM/ECF system
and the Colorado Courts E-Filing to the following:

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